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                                                     INC. and JASON M. DEMEO
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                                                11
                                                                    UNITED STATES DISTRICT COURT
                                                12             FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                                      PARAMOUNT PICTURES                  CASE NO. 2:19-cv-01156-DMG-PJW
                     B E V E R LY H I L L S




                                                14    CORPORATION; COLUMBIA
                                                      PICTURES INDUSTRIES, INC.;          DEFENDNATS’ EX PARTE
                                                15                                        APPLICATION TO REQUEST THE
                                                      DISNEY ENTERPRISES, INC.;           COURT COMPEL MEDIATION
                                                16    TWENTIETH CENTURY FOX FILM
                                                      CORPORATION; WARNER BROS            Judge: Hon. Dolly M. Gee
                                                17
                                                      ENTERTAINMENT, INC.;                Magistrate Judge: Hon. Patrick J. Walsh
                                                18    UNIVERSAL CITY STUDIOS
                                                19    PRODUCTIONS LLLP;
                                                      UNIVERSAL TELEVISION LLC;
                                                20    and UNIVERSAL CONTENT
                                                21    PRODUCTIONS LLC,
                                                22                     Plaintiffs,
                                                23        v.
                                                      OMNIVERSE ONE WORLD
                                                24    TELEVISION, INC.; JASON M.
                                                25    DEMEO,
                                                26                    Defendants.
                                                27
                                                28
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                                               1   TO THE PARTIES AND THEIR ATTORNEYS OF RECORD:
                                               2         PLEASE TAKE NOTICE that, pursuant to Central District Local Rule 7-19,
                                               3   Defendants Omniverse One World Television, Inc. and Jason M. Demeo (collectively,
                                               4   “Defendants”) respectfully submit this ex parte application to request the Court
                                               5   compel mediation. Pursuant to Local Rule 7-19.1, counsel for Plaintiffs were given
                                               6   notice of this ex parte application on August 16, 2019. (Declaration of R. Joseph
                                               7   Trojan (“Trojan Decl.”), ¶2.)
                                               8         On August 19, 2019, Plaintiffs’ counsel indicated by email that they will
                                               9   oppose this application. (Trojan Decl., Ex. 2.) Plaintiffs’ counsel can be contacted at:
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                                                                                        Respectfully submitted,
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                     B E V E R LY H I L L S




                                              14                                        TROJAN LAW OFFICES
                                                                                        by
                                              15
                                              16   August 19, 2019                      /s/ R. Joseph Trojan
                                                                                        R. Joseph Trojan
                                              17                                        Attorneys for Defendants,
                                              18                                        Omniverse One World Television, Inc. and
                                                                                        Jason M. Demeo
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                                               1      I.       Introduction
                                               2            Defendants request the Court to compel mediation because there is literally
                                               3   nothing left for litigation. Plaintiffs allege in their Complaint that Defendants
                                               4   provided motion picture and television programming content to unauthorized online
                                               5   streaming services in violation of Plaintiffs’ copyrights. (Dkt. #1.) There is no
                                               6   conduct to enjoin because Defendants have stopped the alleged offending conduct by
                                               7   shutting down operations. Because Defendants do not have the resources to fight this
                                               8   case, Defendants have ceased operations and are unwinding Omniverse’s business
                                               9   operation as Omniverse is going out of business. (Dkt. #39 at pp. 6-7.)
                                              10            In light of all this, the parties have exchanged several offers, but have reached
                                              11   an impasse to settle the case. (Trojan Decl., Ex. 1.) The parties have exchanged
                                              12   drafts of a stipulated judgment, but the parties reached an impasse when Plaintiffs
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                                              13   demanded that Defendants admit to what amounts to egregious conduct in exchange
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                                              14   for settlement. Defendants fear Plaintiffs intend to use such a stipulated judgment as
                                              15   part of a criminal investigation against Defendants.           To resolve the impasse,
                                              16   Defendants proposed a mediation, which Plaintiffs have flatly refused.
                                              17            To coerce Defendants to settle on Plaintiffs’ terms, Plaintiffs have propounded
                                              18   voluminous discovery requests and issuing a deposition notice, all to drive up the
                                              19   costs of litigation. As Omniverse is out of business and there is nothing left to litigate,
                                              20   Defendants are left with no choice but to ask the Court to compel mediation so that
                                              21   this case can be settled quickly, efficiently, and economically without wasteful and
                                              22   unnecessary discovery. Defendants apply ex parte because Plaintiffs are pressing
                                              23   discovery, threatening to move to compel, and unless mediation is ordered, Plaintiffs
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                                                   will engage in months of expensive discovery.
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                                                      II.      Arguments
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                                                               A. Plaintiffs’ Demands for the Stipulated Judgment Are Unreasonable
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                                               1         Pursuant to Local Rule 16-15, “[i]t is the policy of the Court to encourage
                                               2   disposition of civil litigation by settlement when such is in the best interest of the
                                               3   parties.” Since Defendants have already ceased the alleged offending activities, it
                                               4   thus makes sense to resolve the case as early and economically as possible.
                                               5   Defendants have yet to answer the Complaint as there are pleading motions pending,
                                               6   and the Court has yet to issue a scheduling order.
                                               7         As noted in the Joint Rule 26(f) Report, on May 31, 2019, “Omniverse
                                               8   management directed the cessation of all streaming services to residential subscribers,
                                               9   effective May 31, and determined that the company will be wound-up and go out of
                                              10   business under the provisions of Delaware law.” (Dkt. #39 at p. 6.) Additionally,
                                              11   “the company [would] be unwinding its business operations and will make
                                              12   commercially reasonable dispositions of its equipment and assets in accordance with
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                                              13   Delaware law.” (Id. at p. 7.)
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                                              14         Also on May 31, Defendants made the first of two written settlement offers to
                                              15   Plaintiffs in an effort to settle the litigation and minimize costs. A second settlement
                                              16   offer was sent on July 24, 2019. Plaintiffs’ did not confirm if the settlement offers
                                              17   were received by each and every plaintiff and that each and every plaintiff responded
                                              18   to the settlement offers. (Trojan Decl., ¶4.) Defendants are entitled to know that the
                                              19   settlement offers were sent to each and every plaintiff and that a response was
                                              20   received from each and every plaintiff in the form of a full privilege log.
                                              21         An impasse also arose over the language of the stipulated judgment.
                                              22   Defendants dispute there was any infringement at all, and Defendants particularly
                                              23   dispute that the alleged infringement, if any, was done with malice or bad intent.
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                                                   Defendants also fear that Plaintiffs’ proposed judgment could be used in a criminal
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                                                   investigation against Defendants. Given the impasse, on July 31, 2019, Defendants
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                                               1   proposed mediation regarding the stipulated judgment and the parties’ respective
                                               2   disputes:
                                               3                 We appear to be at an impasse concerning the terms of the
                                               4                 stipulated judgment. Rather than give up, it would most likely be
                                                                 helpful to hold a mediation…In fact, we will agree to pay the cost
                                               5                 of the mediation.
                                               6   Id. Plaintiffs’ counsel responded on August 1: “We do not see a reason to mediate at
                                               7   this time in light of where we are.” (Trojan Decl., ¶5.) A compelled mediation is
                                               8   required to help this matter conclude in an efficient and fair manner.
                                               9               B. Plaintiffs Have Threatened a Motion to Compel to Extract
                                              10                 Concessions from Defendants in Settlement
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                                                         Rather than mediate, Plaintiffs seek to use discovery to drive up costs of
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                                                   litigation to force Defendants to concede to Plaintiffs’ settlement demands. Mere
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                                                   days after Defendants informed Plaintiffs that Omniverse was unwinding its business
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                                              14
                                                   operations in the Joint Rule 26(f) Report, Plaintiffs served five separate discovery
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                                                   requests on June 21. Defendants responded to Plaintiffs’ discovery requests on
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                                                   August 6 and are currently supplementing their responses. On that same day, August
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                                                   6, Plaintiffs served a notice of deposition under Federal Rule of Civil Procedure
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                                                   30(b)(6) for Omniverse. On August 9, Plaintiffs emailed notice of its intent to file a
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                                                   motion to compel discovery requests.
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                                                         Plaintiffs have accelerated discovery when the parties should be settling. Yet,
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                                                   Plaintiffs are threatening to move to compel, even though there is no discovery cut-
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                                                   off and the parties are in the midst of negotiating settlement. Discovery is moot
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                                                   because Omniverse has ceased operations, and proceeding with further discovery and
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                                                   related motions is wasteful.     Unless Plaintiffs are compelled to participate in
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                                                   mediation, Plaintiffs will continue to use the mechanisms of discovery to grind
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                                               1   Defendants into settlement on Plaintiffs’ terms. A Court ordered mediation is
                                               2   required to ensure the fairest and most judicially economical outcome to this matter.
                                               3      III.   CONCLUSION
                                               4         Based on the foregoing, Omniverse respectfully requests that the Court to
                                               5   temporarily stay discovery until mediation is completed.
                                               6
                                               7                                         Respectfully submitted,
                                               8
                                                                                         TROJAN LAW OFFICES
                                               9                                         by
                                              10
                                                   August 19, 2019                       /s/ R. Joseph Trojan
                                              11                                         R. Joseph Trojan
                                              12                                         Attorneys for Defendants,
                                                                                         Omniverse One World Television, Inc. and
TROJAN LAW OFFICES




                                              13                                         Jason M. Demeo
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